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 7
                                   UNITED STATES DISTRICT COURT
 8
                                  WESTERN DISTRICT OF WASHINGTON
                                            AT TACOMA
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10      DONALD E. MORISKY,
                                                               CASE NO. 2:21-CV-1301-RSM-DWC
11                                Plaintiff,
                v.                                             ORDER DIRECTING PLAINTIFF TO
12                                                             PROVIDE ADDITIONAL
        MMAS RESEARCH LLC, et al.,                             DISCOVERY INFORMATION
13
                                  Defendants.
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15          Currently before the Court is Plaintiff Donald E. Morisky’s Renewed Motion for

16   Sanctions. Dkt. 233. After consideration of the relevant record, the Court finds Plaintiff has not

17   been provided with all the necessary discovery to litigate this case. For example, evidence shows

18   Defendant Steven Trubow destroyed a laptop that contained 200 licensee and settlement

19   agreements relevant to this case. There is no evidence Plaintiff has been able to obtain all 200 or

20   more agreements. Additionally, it does not appear Trubow has produced all financial records and

21   bank records to Plaintiff.

22          The Court also recognizes that Plaintiff’s counsel may have not reviewed documents

23   produced by Defendants in November of 2023. See Dkt. 243, Austin Dec. Further, after filing the

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     ORDER DIRECTING PLAINTIFF TO PROVIDE
     ADDITIONAL DISCOVERY INFORMATION - 1
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 1   Motion, Plaintiff’s counsel, F. Christopher Austin, received a renewed link to a Dropbox that

 2   may contain relevant documents. See Dkt. 240, Gross Dec.; Dkt. 243, Austin Dec. The

 3   documents produced in November of 2023 and again in May of 2024 may contain records that

 4   Plaintiff believes have not been produced.

 5          Accordingly, the Court directs Plaintiff to review the evidence that has been obtained in

 6   this case. Plaintiff is ordered to provide a detailed list of items Plaintiff asserts Defendants have

 7   failed to produce and Plaintiff has been unable to obtain through other sources. The list should

 8   also include discovery requests that Defendants have failed to respond or responded to

 9   improperly.

10          Plaintiff should provide this list to the Court on or before July 15, 2024.

11          The Clerk is directed to re-note the Motion (Dkt. 233) to July 15, 2024.

12          Dated this 3rd day of July, 2024.

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                                                            A
                                                            David W. Christel
15                                                          United States Magistrate Judge

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     ORDER DIRECTING PLAINTIFF TO PROVIDE
     ADDITIONAL DISCOVERY INFORMATION - 2
